              Case 6:09-cr-00048-LGW-CLR Document 1126 Filed 05/27/15 Page 1 of 1

                                      Reduotion
                       MotionforSenrenc€
AO24700nt) orderResardins                          to 18U.SC.S3582(cX2)
                                             Pursuant                            Pa8€1of 2 (Pace
                                                                                               2 NotforPublicD'sclPrL
                                                                                                                        E 0
                                                                  -                                   U,S,
                                                                                                         OISTRICT
                                                                                                              COURT
                                              UntrpoSraresDtsrnrcrCounr                                 ATJGUSTA
                                                                                                              0lV.
                                                        rorthe                                          tlAy2? AHg: 30
                                                                                                     ?0lS
                                                    SouthemDistrictof Georgia
                                                      StatesboroDivision
                  UnitedStatesof America                                                                       DIST.
                           v.
                                                                      CaseNo: 6:09CR00048-33
                      GenaroBarrientos                                USMNo: 61629-019

DateofOriginalJudgment:            27,2010 Hal Roach,Jr.
                            September
Dateof Previous     Judgment:
              Amended      _                          Attorney
                                          ) Defendant's
Ase Date oJLdstAmendedJ dgment,ifany)

                                                                  ReductionPursunntto l8 U.S.C.S 3582(cX2)
                                 Order RegardingNlotionfor Sentence


         Upon motionof Ethe defendantEth.                Di.."to. of theBureauof PrisonsL-l the courtunderl8 U.S.C.

S 35S2(cX2)for a reductionin thetermof imprisonment   imposedbasedon a guidelinesentencing  rangethathas
subsequentlybeen  loweredand  made           by
                                   retroactive   the United       Sentencing
                                                             States           Commission pursuant to 28 U.S.C,
S 994(u),andhavingconsidered   suchmotion, and taking  into       the
                                                            account   policy         set
                                                                             statement  forth at USSG  S 1B1.10and
             factorssetforth in l8 U.S.C.$ 3553(a),to the extentthattheyareapplicable,
the sentencing


IT IS ORDEREDthatthe motionrs:
lnnNfp'O. @CnellfEO andthe defendant's previouslyimposedsentence
                                                               of imprisonrnent
                                                                             1as       inthelastiudsment
                                                                                rellected
nstteQ
     of  I 15 monthsis reducedto time served


                                                 PartsI andII of Page2 whenmotionis ganted)
                                         (Complete




Exceptasotherwiseprovidedabove,all provisionsofthejudgmentdated
IT IS SO ORDERED,

OrderDate:            Slrr lrs

                                                                      DudleyH. Bowen,Jr.
Effective Date:             1.2015
                      November                                        UnitedStatesDistrictJudge
                    (if di|ferentfrom oder date)                                         Prtnted nome and litle
